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                          IN THE    UNITED    STATES      DISTRICT        COURT   E
                       FOR THE EASTERN DISTRICT OF VIRGINIA                              OEC I9 2013
                                         Richmond Division
                                                                                   CLERK U.S. DISTRICT COURT
                                                                                          RICHMOND, VA
UNITED       STATES    OF AMERICA


v.                                                      Criminal      No.   3:99CR201
                                                        Civil Action No.          3:13CV656
VALLIA       CAROLYN      FRIEND


                                     MEMORANDUM         OPINION


        By    Memorandum Opinion and Order                     entered on         June    22,       2005,

the Court denied a motion under 28 U.S.C.                            § 2255 filed by Vallia

Carolyn Friend.                 (ECF Nos.    627-28.)         On September 23,             2013,      the

Court        received       a     successive,          unauthorized         28    U.S.C.       §     2255

motion from Friend               ("§ 2255 Motion," ECF No.                695).

        The Antiterrorism and Effective                        Death      Penalty Act          of    1996

restricted          the     jurisdiction          of    the    district          courts     to       hear

second       or     successive           applications         for    federal      habeas           corpus

relief by prisoners attacking the validity of                                their convictions

and sentences by establishing a "gatekeeping mechanism."                                           Felker

v.    Turpin,       518     U.S.    651,    657    (1996)       (internal        quotation marks

omitted).             Specifically,          "[bjefore          a    second       or     successive

application permitted by this                      section      is    filed in         the district

court,       the    applicant        shall     move      in    the     appropriate         court       of

appeals       for an      order authorizing the district                     court to       consider

the application."                28 U.S.C.    § 2244(b)(3)(A).

        Because       the       United    States   Court       of    Appeals      for    the       Fourth

Circuit       has     not       authorized     this       Court      to     entertain       Friend's
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successive § 2255 Motion,                   the § 2255 Motion                 (ECF No.       695)    will

be dismissed for want of jurisdiction.

       An appeal may not be taken from the final order in a § 2255

proceeding unless              a judge issues a certificate of appealability

("COA") .          28    U.S.C.       §   2253(c)(1)(B).               A    COA     will    not     issue

unless a prisoner makes "a substantial showing of the denial of

a    constitutional             right."             28     U.S.C.          § 2253(c)(2).             This

requirement         is     satisfied        only         when   "reasonable           jurists       could

debate       whether       (or,     for   that      matter,         agree     that)    the    petition

should       have       been   resolved      in      a    different         manner     or    that      the


issues        presented        were       ^adequate        to       deserve       encouragement         to

proceed further.'"                  Slack v.     McDaniel,          529 U.S.        473,    484     (2000)

(quoting Barefoot              v.    Estelle,       463    U.S.      880,     893   & n.4     (1983)).

Friend fails to            satisfy this standard.                     Accordingly,         a COA will

be   denied.


        The    Clerk      is    directed       to    send       a    copy    of     this    Memorandum

Opinion to Friend and counsel for the United States.

        It    is   so ORDERED.




                                                                      /s/           £tl_
                                                 Robert E. Payne
                                                 Senior United States District Judge

Richmond, Virginia
Date: December jj , 2013
